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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

TRAVIS BAIR,                               )
                                           )
       Plaintiff,                          )
                                           )
v.                                         )        Case No. 1:20-cv-00769-ELH
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
       Defendant.                          )

                                          ORDER

       Upon consideration of the Joint Motion to Modify Scheduling Order and the record in this

case it is this ____ day of                            2022, hereby

       ORDERED that the Joint Motion shall be and hereby is GRANTED; and it is further

       ORDERED that the Scheduling Order shall be and hereby is MODIFIED as follows:

                                    OLD DEADLINE                 NEW DEADLINE

Rule 26(e)(2) supplementation of
Disclosures and responses:          June 3, 2022                 August 4, 2022

Discover deadline and
Submission of status report:        June 17, 2022                August 17, 2022

Request for admissions:             June 24, 2022                August 24, 2022

Dispositive motion deadline:        July 25, 2022                September 26, 2022




It is so ORDERED.


                                           _________________________________
                                           The Honorable Ellen Lipton Hollander
                                           United States District Judge
